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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                     ORDER
             v.                                                    09-CR-331-A


DOMENICO ANASTASIO,


                                  Defendant.



      This case was referred to Magistrate Judge Hugh B. Scott pursuant to 28 U.S.C.

§ 636(b)(1)(B) for pretrial proceedings. Magistrate Judge Scott filed a Report and

Recommendation, Dkt. No. 993, recommending denial of motions filed by defendant

Domencio Anastasio, Dkt. No. 548, for various pretrial relief. Defendant Anastasio filed

objections to the Magistrate Judge’s recommendation, Dkt. No. 1032, not to dismiss

Count 1 of the Fourth Superseding Indictment, and the Court heard oral argument on

the objections, as well as on the same objections raised by other defendants.

      The Court has carefully reviewed the Report and Recommendation, the record in

this case, the pleadings and arguments of the parties, and it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), after de novo review, and for

the reasons set forth in Magistrate Judge Scott’s Report and Recommendation, Dkt.

No. 993, pp. 6-15, defendant Anastasio's motion to dismiss Count 1 of the Fourth

Superseding Indictment is denied. There is no clear error in any other portion of the

Report and Recommendation pertaining to the defendant, and the Report and
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Recommendation is therefore adopted.

      IT IS SO ORDERED.




                                       ____Richard J. Arcara____________
                                       HONORABLE RICHARD J. ARCARA
                                       UNITED STATES DISTRICT COURT

Dated: July 29, 2014




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